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lN THE UNITED STATES DISTRICT CoURT `ED B' -' D-‘#-

FOR THE WESTERN DISTRICT OF TENNESSEE 05 JUL 22 PM 2= 37

 

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GREEAR TREW ) W»i) a.?:~" :;. fingng
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PLAINTIFF, )
)
v. ) DocKET No. 04-2163-BP
)
AMERICAN iNSTITUTE oF )
INTRADERMAL CosMETICs, INC. ) JURY DEMANDED
and CLARIANT CoRPoRATIoN, )
)
DEFENDANTS. )

 

M¥¥RG?PUSED SCHEDULING ORDER

 

Come now the parties, and respectfully submit the following Joint Proposed Scheduling
Order, which amends the Seheduling Order previously entered in this case on February 14, 2005.
Pursuant to agreement of the parties, they submit the l`ollowin§,r dates to be established as the
linal dates for:
AMENDING PLEADINGS: September 7, 2005
JOINING PARTIES: September 7, 2005
COMPLET[NG ALL DISCOVERY: March 31, 2006
(a) DOCUMENT PRODUCTION: March 31. 2006
(b) INTERROGATOR]ES AND REQUESTS FOR ADMISSIONS: Mareh 31, 2006
(c) DEPOSITIONS: March 31, 2006
(d) EXPERT WITNESS DISCLOSURE (Rule 26):

(l) DISCLOSURE OF PLAINTlFF’S RULE 26 EXPERT
INFORMATION: December l, 2005

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(2) DISCLOSURE OF DEFENDANT’S RULE 26 EXPERT
INFORMATION: February l, 2006

(3) EXPERT WITNESS DEPOSITIONS:
Plaintiffs Expert: January lS_, 2006
Defendant’s Experts: March 10, 2006
FILING DISPOSITIVE MOTIONS: May l7, 2006
OTHER RELEVANT MATTERS:

On June 2, 2005, the Court entered an Order Granting Motion for Leave to Withdraw As
Counsel as to counsel for Defendant, American lnstitute oflntradermal Cosmetics. Pursuant to the
Order, Defendant Arn_erican lnstitute of lntradermal Cosmetics had thirty (30) days to retain new
counsel. As of the date of this Order, Defendant American lnstitute of lntradermal Cosmetics does
not have counsel of record. The parties to this litigation may proceed with this case Whether or not
Defendant American lnstitute of Intradermal Cosrnetics retains new counsel.

The parties have agreed that each party shall be permitted to take fifteen depositions, as
opposed to the ten depositions as set forth in Rule 30 of the F ederal Rules of Civil Procedure. No
depositions, however, may be scheduled to occur after the discovery cutoff date, All motions,
requests for admissions, or other filings that require a response must be filed sufficiently in advance
of the discovery cutoff date to enable opposing counsel to respond by the time permitted by the Rules
prior to that date,

Motions to compel discovery are to be filed and served by the discovery deadline or within 30
days of the default or service of the response, answer, or objection which is the subject ofthe motion
if the default occurs within 30 days of the discovery deadline, unless the time for filing of such
motion is extended for good cause shown, or any objection to the default, response, or answer shall
be waived

This case is set for a jury trial. The pretrial order date, pretrial conference date, and trial date
will be set by the presiding judge. lt is anticipated that the trial will last approximately 3-4 days.

This case may be appropriate for ADR. Parties are directed to appear before the magistrate
judge to discuss the status ofthe case and the possibility ofADR on 1 $’ fly cv§‘q.` d~’/'S~M.

The parties are reminded the pursuant to Local Rule l l(a)(l )(A), all motions, except motions
pursuant to FED R. CIV. P. l2, 56, 59, and 60, shall be accompanied by a proposed Order.

The opposing party may file a response to any motion filed in this matter. Neither party may
file an additional reply, however, without leave of the court. If a party believes that a reply is
necessary, it shall file a motion for leave to file a reply accompanied by a memorandum setting forth

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the reasons for which a reply is required

This order has been entered after consultation with trial counsel pursuant to notice. Absent
good cause shown, the scheduling dates set by this Order will not be modified or extended

rr is so oRDERED this the 311/day er giglio ,2005.

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\ law
TU M. PHAM

United States Magistrate l udge

Date: FK;JL~O Q,.Q 11 wolf

 

APPROVED FOR ENTRY:

SPRAGINS, BARNETT, COBB & BUTLER, PLC

By: QB<.,\!\_§NA \r\ SQ,DQ§ MJ\-\»\ `Da/»ws<~.aen `QP/_\

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J. BRANDON McWHERTER #21600
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Attorneys for Plaintiff

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BURCH, PORTER & JOHNSON, PLLC

By: w »_/p/\ :»\/\9\5 \\ /\

De T ASHY, JR. #5163\5!

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A s for Defendant Clariant

130 North Coui“t Avenue

Memphis, TN 38103

(901) 524-5137

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CERTIF]CATE OF SERVICE

l, the undersigned, do hereby certify that a true and accurate copy of the foregoing has sent

via Federal Express overnight delivery, to the following counsel of record on the ; zl'x day of l uly
2005 :

l\/fr. Robert Delveaux

American lnstitute of lntradermal Cosmetics, lnc.
2500 East Randol Mill Road

Suite 137

Arlington, TX 76011

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UNTED sTATEs DIsTRCT COURT - WESERDIR oFTNNEEssEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 93 in
case 2:04-CV-02163 Was distributed by faX, mail, or direct printing on
.luly 25, 2005 to the parties listed

 

 

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Honorable .l. Breen
US DISTRICT COURT

